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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
LAURA HOLMES, et al.,                )
                                    )
            Plaintiffs,             )
                                    )
      v.                            )  Civil Action No. 14-1243 (RMC)
                                    )
FEDERAL ELECTION COMMISSION, )
                                    )
            Defendant.              )
                                     )

                               Response to Order to Show Cause

       Plaintiffs Laura Holmes and Paul Jost hereby respond to this Court’s October 20, 2014

Order directing them to show cause “why the Court should not convert [its] Order denying

Plaintiffs’ Motion for a Preliminary Injunction into a final appealable Order denying Plaintiffs’

request to certify the constitutional issues to the United States Court of Appeals for the District

of Columbia Circuit for en banc consideration.” Order on Mot. Prelim. Inj. (ECF No. 16).

       Notwithstanding its denial of Plaintiffs’ motion, this Court’s mandate is to certify

constitutional questions to the en banc Court of Appeals under the procedure prescribed by 2

U.S.C. § 437h (transferred to 52 U.S.C. § 30110). 1 See Compl., ¶ 5 (ECF No. 1); Civil Cover

Sheet, VI (invoking § 437h). Because the standard for certification is substantially lower than

that for denial of a preliminary injunction, district courts will at times deny preliminary relief,

only to then certify constitutional questions to the Court of Appeals. See, e.g., SpeechNow.org v.

FEC, 567 F.Supp. 2d 70 (D.D.C. 2008) (denying plaintiffs’ motion to enjoin enforcement of



1
  Effective September 1, 2014, the provisions codified at 2 U.S.C. §§ 431-57 were transferred to
52 U.S.C. §§ 30101-30146. This case was filed before September 1, 2014, thus, Plaintiffs’
citations have been to Title 2. For clarity, this Court also cited to Title 2 in its Memorandum
Opinion. Plaintiffs continue that convention here.
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certain contribution limits); 2009 U.S. Dist. LEXIS 89011 (D.D.C. Sept. 28, 2009) (certifying

constitutional questions to the en banc D.C. Circuit).

       Under § 437h, this Court lacks jurisdiction to decide the merits of this dispute. Instead,

“the plain text of section 437h grants exclusive merits jurisdiction to the en banc court of

appeals.” Wagner v. FEC, 717 F.3d 1007, 1011 (D.C. Cir. 2013) (per curiam) (emphasis

supplied). Despite the statute’s clear and commanding language, “[i]n a § 437h case, the district

court need not certify legal issues that have been resolved by the Supreme Court.” Khachaturian

v. FEC, 980 F.2d 330, 331 (5th Cir. 1992) (en banc). That is, under § 437h, the district court

certifies questions that are “neither frivolous nor so insubstantial as to warrant dismissal for

failure to state a claim.” Int’l Ass’n of Machinists and Aerospace Workers v. FEC, 678 F.2d

1092, 1096 (D.C. Cir. 1982) (en banc).

        This Court has not concluded that Plaintiffs’ constitutional questions are resolved by

Supreme Court precedent, nor that they are “frivolous” or “so insubstantial as to warrant

dismissal for failure to state a claim.” 2 It has instead concluded that Plaintiffs did not satisfy the

rigorous test necessary to obtain the extraordinary remedy of a preliminary injunction.

Converting the denial of Plaintiffs’ motion for preliminary relief into a denial of their

certification request will deny Plaintiffs their constitutional and statutory rights to litigate the

merits of their claims. Neither denial of preliminary relief nor denial of certification is an

adjudication of the as-applied challenge Plaintiffs are mounting to FECA. Section 437h reserves

that task to the Court of Appeals sitting en banc. Thus, Plaintiffs renew their request that this

Court certify the constitutional questions raised here pursuant to § 437h.



2
 In Cal. Med. Ass’n v. FEC, Justice Marshall described the cases that merit certification under §
437h as those that are “neither insubstantial nor settled,” 453 U.S. 182, 192 n.14 (1981). This
suggests that, in the § 437h context, “frivolous” and “insubstantial” have the same meaning.
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                                          ARGUMENT

I.     Plaintiffs renew their request that this Court certify constitutional questions to the
       en banc D.C. Circuit pursuant to 2 U.S.C. § 437h.

       A.      Plaintiffs challenge FECA and its amendments.

       In filing this case, Plaintiffs invoked jurisdiction under 2 U.S.C. § 437h (see, e.g., Compl.

¶5; Civil Cover Sheet at VI.) Under that statute,

       any individual eligible to vote in any election for the office of President may institute
       such actions in the appropriate district court of the United States, including actions for
       declaratory judgment, as may be appropriate to construe the constitutionality of any
       provision of this Act. The district court immediately shall certify all questions of
       constitutionality of this Act to the United States court of appeals for the circuit involved,
       which shall hear the matter sitting en banc.

(emphasis supplied). Plaintiffs have standing under § 437h because they are eligible to vote in

the 2016 Presidential election. See Holmes Decl., ¶ 5 (ECF 6-2); Jost Decl., ¶ 5 (ECF 6-3).

       In Buckley v. Valeo, the D.C. Circuit outlined the district courts’ role in cases brought

under § 437h: (1) identify the constitutional issues raised by the complaint; (2) take evidence; (3)

make factual findings; and (4) certify constitutional questions to the D.C. Circuit. 519 F.2d 817,

818 (D.C. Cir. 1975). This procedure is neither novel nor extraordinary, and has been

implemented as a matter of course throughout FECA’s lifespan. Indeed, in the D.C. Circuit, there

is no other means of adjudicating novel challenges to FECA. Wagner, 717 F.3d at 1011.

       B.      The standard for certification under § 437h is substantially more permissive
               than the standard for entry of a preliminary injunction.

       As the FEC has noted, “[a] preliminary injunction is ‘an extraordinary remedy that may

only be awarded upon a clear showing that the plaintiff is entitled to such relief….[It is] never

awarded as of right. A plaintiff seeking a preliminary injunction must establish that he is likely to

succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

relief, that the balance of equities tips in his favor, and that an injunction is in the public

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interest.’” Op. at 9 (ECF No. 12) (citing Winter v. NRDC, Inc., 555 U.S. 7, 22, 24, 20 (2008)).

Given the exceptional nature of this remedy, “[t]he ‘movant has the burden to show that all four

factors…weigh in favor of the injunction.’” Mem. Op. at 5 (ECF No. 15) (quoting Davis v.

Pension Benefit Guar. Corp., 571 F.3d 1288, 1292 (D.C. Cir 2009).

       By contrast, § 437h provides for review of certification requests under a much more

permissive standard. Certification is required, with a limited exception for questions that are

frivolous or matters of settled law. See, e.g., Cal. Med. Ass’n v. FEC, 453 U.S. at 192 n. 14.

Thus, at this stage of this litigation, this Court need only make a threshold determination that

Plaintiffs’ questions are neither frivolous nor already settled. See, e.g., Khachaturian v. FEC,

980 F.2d at 331 (“the district court also must develop a record and make findings of fact

sufficient to allow the en banc court to decide the constitutional issues”) (citation omitted); Int’l

Ass’n of Machinists and Aerospace Workers v. FEC, 678 F.2d at 1096.

       Consequently, the rigorous standard for preliminary relief at issue at the injunctive relief

stage is distinct from this statutory path to en banc review. Certification is a matter of right

established by Congress, not “an extraordinary remedy that may only be awarded upon a clear

showing.” Winter, 555 U.S. at 22. It is not a multi-factor test, nor one that imposes a weighty

burden on parties who seek it. By contrast, it is a presumption in favor of certification: “[o]nce a

core provision of FECA has been reviewed and approved by the courts, unanticipated variations

also may deserve the full attention of the appellate court.” Goland v. United States, 903 F.2d

1247, 1257 (9th Cir. 1990). Moreover, “[a] preliminary injunction is just that—preliminary. It

does not substitute for a trial, and its usual office is to hold the parties in place until a trial can

take place; the proceedings are streamlined, intentionally, because the fuse is often so short.”

Cobell v. Norton, 391 F.3d 251, 261 (D.C. Cir. 2004) (citations omitted)).



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       Even if this Court does not conclude that Plaintiffs articulate a certifiable question, if the

facts of their case present such a question, certification should still occur. Indeed, “[t]his Court

has the power, and apparently the duty, to identify the constitutional issues and to reframe the

question as necessary so that any proper non-frivolous question is certified to the en banc Court

of Appeals.” Libertarian Nat’l. Comm. v. FEC, 930 F. Supp. 2d. 154, 169 (D.D.C. 2013)

(granting in part and denying in part plaintiff’s request to certify questions under § 437h). In

LNC v. FEC, Judge Wilkins found that that the plaintiff’s proposed certified question was so

broadly written as to be foreclosed by facial rulings of the Supreme Court. Nevertheless, the

Court concluded that “on th[o]se facts, it appear[ed] that the anti-corruption interests that would

be implicated by [the contribution limit challenged there] may be minimal.” 930 F. Supp. 2d at

171. Thus, “[a]fter a careful review of the parties’ positions, the facts, and the current state of the

law in this area, this Court conclude[ed] that although the question presented by the LNC for

certification does not merit review by the en banc Court of Appeals, there is a valid, narrower

constitutional question raised by the [facts of the case] that presents an as-applied challenge that

should be certified.” Id. The Court reiterated that it “does not relish requiring our Court of

Appeals to sit en banc, but at the same time it has a duty under 2 U.S.C. § 437h to certify

appropriate constitutional issues.” Id.

       C.      This case is neither frivolous, nor does it raise settled questions.

               1.      As-applied challenges to federal contribution limits are appropriate.

       The Supreme Court’s holding in Doe v. Reed reiterates the importance of the as-applied

path to constitutional litigation, particularly in the election law context. 561 U.S. 186 (2010). The

Court “note[ed]—as we have in other election law disclosure cases—that upholding the law

against a broad-based challenge does not foreclose a litigant's success in a narrower one.” Id. at



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201 (citation omitted). See also, e.g., Wisc. Right to Life v. FEC, 546 U.S. 410, 411-12 (2006) (in

upholding a BCRA provision against a facial attack, the Court “did not purport to resolve future

as-applied challenges.”) Here, the fact that the individual contribution limits have been upheld in

previous cases does not mean that the limits’ bifurcation is constitutional as applied to Plaintiffs.

Nor does it mean that the bifurcation itself has been upheld in previous cases.

                2.     When federal law allows some contributors to give $5,200 to a
                       candidate for use in the general election, but denies other contributors
                       that same ability, it violates the First Amendment in a manner that
                       has not been addressed by the Supreme Court.

        Facially, FECA’s contribution limits only “marginally restrict[] Plaintiffs’ freedom of

association,” Mem. Op. at 7; Buckley v. Valeo, 424 U.S. 1, 20-21 (1976) (per curiam). Plaintiffs

do not dispute that “[e]ven a significant interference with protected rights of political association

may be sustained if the State demonstrates a sufficiently important interest and employs means

closely drawn to avoid unnecessary abridgement of associational freedoms.” Mem. Op. at 6

(quoting Buckley, 424 U.S. at 25). But the bifurcated limit is not closely drawn to avoid

unnecessary abridgment of associational freedoms in Plaintiffs’ case. That is because “if a party

candidate has no opposition in the primary election, one may contribute $2,600 to the primary

and $2,600 to the general election and the candidate can use both amounts ($5,200) in the

general election alone.” Mem. Op. at 3. The Plaintiffs, however, cannot contribute $5,200 for

their preferred candidates to use in the general election alone. This result alone demonstrates a

lack of tailoring.

        As this Court noted, “there is certainly no rule requiring that all candidates have equal

funding. To the contrary, inequity in campaign finances is an inherent part of elections.” Mem.

Op. at 9 (citing Davis v. FEC, 554 U.S. 724, 742 (2008)). But here that inequity results from the

operation of a federal statute. This Court stated that because “FECA simply makes uniform the

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amount a person can contribute to a candidate on a per-election basis”, “[t]his restriction is

closely drawn to match a sufficiently important state interest and does not overly burden

Plaintiffs’ freedom to associate.” Mem. Op. at 9. But, as applied here, the bifurcated limit does

the opposite: it allows supporters of candidates without primary challengers to give twice as

much money for the general election. This is not simply an exercise in legislative discretion with

respect to setting dollar amounts, which courts lack a “scalpel to probe.” Buckley, 424 U.S. at 30;

Randall v. Sorrell, 548 U.S. 230, 247, 248 (2006). It doubles the scope of association that certain

contributors enjoy, wholly by virtue of government design.

        The Supreme Court has not considered this result: “neither Congress nor McCutcheon

approved contributions of $5,200 in a single election” Mem. Op. at 8. Yet, precisely those

contributions are taking place here—although only for one side of a two-candidate contest. As

this Court notes, “the Supreme Court has long ago concluded that restrictions on the amount of

money one can contribute per election prevent corruption and the appearance of corruption by

allowing candidates to compete fairly in each stage of the political process.” Mem Op. at 8

(citing Buckley, 424 U.S. at 26-27). If anything, this demonstrates that Buckley did not

contemplate a situation like the Plaintiffs’—where it is FECA itself that is creating an unfair

advantage for certain candidates. Thus, Plaintiffs’ as-applied First Amendment challenge does

not raise a settled question.

                3.      When federal law allows some contributors to give $5200 to a
                        candidate for use in the general election, but denies other contributors
                        that same ability, it denies those disfavored contributors equal
                        protection of the laws, and does so in a way that has not been
                        addressed by the Supreme Court.

        First, the Supreme Court “has not addressed the scrutiny applicable to a challenge to

restrictions on political contributions under an equal protection rubric.” Mem. Op. at 10. This in



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and of itself suggests that Plaintiffs’ equal protection challenge is not a matter of settled law.

More pointedly, Plaintiffs’ equal protection argument, like their First Amendment argument, was

not anticipated by the Buckley Court. In fact, the Court’s assessment that FECA “applies the

same limitations on contributions to all candidates regardless of their present occupations,

ideological views, or party affiliations” illustrates that it has not considered the factual scenario

here, where party affiliations in part determine with how much contributors may (or may not)

give. Buckley, 424 U.S. at 31. Tellingly, the 11 C.F.R. § 110.3(c)(3) provision allowing for

transfer of funds from primary to general election campaigns under was not even added to the

Federal Register until 1989, more than a decade after the Buckley decision was handed down.

       Thus, like its First Amendment challenge, Plaintiffs’ as-applied due process challenge

does not raise a settled question.

       D.      There is ample support for certification of Plaintiffs’ questions.

       The recent SpeechNow.org v. FEC case—which, like this one, challenged the as-applied

enforcement of certain contribution limits—is instructive. In SpeechNow, this Court was asked to

impose a preliminary injunction, but “found that the contribution limits on independent

expenditure groups [the subject of that challenge] supported a substantial state interest, and that

the plaintiffs were unlikely to succeed on the merits.” 2009 U.S. Dist. LEXIS 89011 at *2.

Initially, the SpeechNow district court noted that “[b]ecause the denial of a preliminary

injunction is appealable as of right…plaintiffs’ certification motion will also be denied. Plaintiffs

should take up their request directly with the Court of Appeals.” 567 F. Supp. 2d at 82. But after

the plaintiffs submitted a motion to reconsider, emphasizing the mandatory and jurisdictional

nature of § 437h, the Court certified the questions presented. In so doing, Judge Robertson noted:

“[t]he task before me is not to answer any constitutional questions, or to render a judgment of



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any kind. Instead, I am to make findings of fact that will allow the Court of Appeals to answer

the constitutional questions I certify.” 2009 U.S. Dist. LEXIS 89011 at *2. SpeechNow is

instructive here. Although this Court denied Plaintiffs’ request for a preliminary injunction, the

Supreme Court has not addressed the questions Plaintiffs present.

       This Court’s own doubts about its merits jurisdiction highlight the importance of the §

437h process. The Memorandum Opinion noted that Plaintiffs moved for a preliminary

injunction, but “the Court’s jurisdiction over the Complaint is based on 2 U.S.C. § 437h, which

provides that the district court should certify all questions of FECA’s constitutionality to the

Court of Appeals for en banc review. According to the D.C. Circuit, it remains an open question

whether ‘section 437h deprives the district court of authority to grant [preliminary injunctive]

relief based on a constitutional challenge to FECA.’” Mem. Op. at 4-5, n. 3 (quoting Wagner,

717 F.3d at 1017 n.9 (D.C. Cir. 2013). This Court continued that it “does not address this issue

given its denial of Plaintiffs’ motion for a preliminary injunction.” Id. (citation omitted). But that

is precisely Plaintiffs’ point. If this Court lacks merits jurisdiction, certification is all the more

important. It is the only avenue for review of the constitutional questions presented. What’s

more, it is the specific procedure Congress provided to streamline review of questions it

recognized as exceptionally important.




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                                         CONCLUSION

       Plaintiffs’ case raises nonfrivolous issues of first impression. Thus, this Court should not

convert its October 20th Order to one denying their motion to certify questions under 2 U.S.C. §

437h. Instead, it should to certify the constitutional questions presented here.

       Dated this 3rd day of November, 2014.

                                                      Respectfully Submitted,

                                                      s/Allen Dickerson
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of November, 2014, I filed the foregoing Plaintiffs’

Response to Order to Show Cause in the above-captioned action via this Court’s ECF system,

causing notice to be served upon the following:

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